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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 18-CR-000126 DAD BAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   MICHELLE MADEWELL,                                  DATE: April 29, 2019
                                                         TIME: 10 a.m.
15                               Defendant.              COURT: Hon. Dale A. Drozd
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for a change of plea on April 29, 2019.

21          2.     By this stipulation, defendant now moves to continue the status conference until May 13,

22 2019, and to exclude time between April 29, 2019, and May 13, 2019, under Local Code T4.

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      The government has represented that the discovery associated with this case

25          includes investigative reports and wiretap affidavits, related recordings, and additional

26          documents. All of this discovery has been either produced directly to counsel and/or made

27          available for inspection and copying.

28                 b)      Counsel for defendant desires additional time consult with her client regarding

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 1          finalization of documents.

 2                 c)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                 d)      The government does not object to the continuance.

 6                 e)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of April 29, 2019 to May 13, 2019,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendant’s request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19

20
      Dated: April 25, 2019                                   MCGREGOR W. SCOTT
21                                                            United States Attorney
22
                                                              /s/ VINCENZA RABENN
23                                                            VINCENZA RABENN
                                                              Assistant United States Attorney
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25
      Dated: April 25, 2019                                   /s/ GALATEA DELAPP
26                                                            GALATEA DELAPP
27                                                            Counsel for Defendant
                                                              Michelle Madewell
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 2                                                ORDER

 3         Good cause having been shown, the Change of Plea hearing currently set for April 29, 2019, at
 4 10:00 a.m. is continued to May 13, 2019, at 10:00 a.m. Time shall be excluded by stipulation from the

 5 parties and pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

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 7 IT IS SO ORDERED.

 8
       Dated: April 25, 2019
 9                                                  UNITED STATES DISTRICT JUDGE
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